Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 1 of 27




                   EXHIBIT 1
     Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 2 of 27



 1   CROSNER LEGAL, P.C.
     Michael T. Houchin (SBN 305541)
 2   mhouchin@crosnerlegal.com
     Craig W. Straub (SBN 249032)
 3
     craig@crosnerlegal.com
 4   Zachary M. Crosner (SBN 272295)
     zach@crosnerlegal.com
 5   9440 Santa Monica Blvd. Suite 301
     Beverly Hills, CA 90210
 6   Tel: (866) 276-7637
     Fax: (310) 510-6429
 7
     Attorneys for Plaintiff and the Proposed Class
 8

 9
                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                         FOR THE COUNTY OF ALAMEDA
11

12   KAMILAH GALBRETH, individually, and              Case No.
     on behalf of all others similarly situated,
13                                                    CLASS ACTION COMPLAINT FOR:
                   Plaintiff,
14                                                       1. Violations of the Consumers Legal
15          v.                                              Remedies Act, Cal. Civ. Code §§ 1750,
                                                            et seq., and;
16   THE KRAFT HEINZ COMPANY,
                                                         2. Violations of the Unfair Competition
17                 Defendant.                               Law, Cal. Bus. & Prof. Code §§17200,
                                                            et seq.
18
                                                         3. Breach of Express Warranty
19

20                                                    DEMAND FOR JURY TRIAL

21

22

23

24

25

26

27

28


                                      CLASS ACTION COMPLAINT
                               Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 3 of 27



                       1                                           INTRODUCTION

                       2           1.     Plaintiff Kamilah Galbreth (“Plaintiff”) on behalf of herself, all others similarly

                       3   situated, and the general public, by and through her undersigned counsel, hereby brings this

                       4   action against The Kraft Heinz Company (“Defendant” or “Kraft”), and upon information and

                       5   belief and investigation of counsel, alleges as follows:

                       6           2.     This is a California consumer class action for violations of the Consumers Legal

                       7   Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”), Unfair Competition Law, Cal. Bus.

                       8   & Prof. Code §§ 17200, et seq. (“UCL”), and for breach of express warranty.

                       9           3.     Defendant manufactures, distributes, advertises, markets, and sells Kraft Mac &

                      10   Cheese products. The packaging prominently displays on the front of the label the claim that
CROSNER LEGAL, P.C.




                      11   these Products 1 contain “No Artificial Flavors, Preservatives, or Dyes.”

                      12           4.     This statement is false. Each of the Products are made with citric acid— a well

                      13   known preservative used in food products.

                      14           5.     Defendant’s packaging, labeling, and advertising scheme is intended to give

                      15   consumers the impression that they are buying a premium product that is free from preservatives.

                      16           6.     Plaintiff, who purchased the Products in California, was deceived by Defendant’s

                      17   unlawful conduct and brings this action on her own behalf and on behalf of California consumers

                      18   to remedy Defendant’s unlawful acts.

                      19                                      JURISDICTION AND VENUE

                      20           7.     This Court has jurisdiction pursuant to Article VI, Section 10 of the California

                      21   Constitution and California Code of Civil Procedure § 410.10.

                      22           8.     This Court has personal jurisdiction over Defendant because Defendant conducts

                      23   and transacts business in the State of California, contracts to supply goods within the State of
                           California, and supplies goods within the State of California. Defendant, on its own and through
                      24

                      25

                      26   1
                             “Products” means all Kraft Mac & Cheese products labeled as containing “No Artificial
                           Flavors, Preservatives, or Dyes” that include citric acid as an ingredient. The Products include,
                      27   but are not limited to, Kraft Mac & Cheese Original Flavor, Kraft Mac & Cheese Thick ‘n
                      28   Creamy, and Kraft Mac & Cheese Three Cheese.

                                                                          1
                                                               CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 4 of 27



                       1   its agents, is responsible for the distribution, marketing, labeling, and sale of the Products in

                       2   California, specifically in this county. The marketing of the Products, including the decision of

                       3   what to include and not include on the labels, emanates from Defendant. Thus, Defendant has

                       4   intentionally availed itself of the markets within California through its advertising, marketing,

                       5   and sale of the Products to consumers in California, including Plaintiff. The Court also has
                           specific jurisdiction over Defendant as it has purposefully directed activities towards the forum
                       6
                           state, Plaintiff’s claims arise out of those activities, and it is reasonable for Defendant to defend
                       7
                           this lawsuit because it has sold deceptively advertised Products to Plaintiff and members of the
                       8
                           Class in California. By distributing and selling the Products in California, Defendant has
                       9
                           intentionally and expressly aimed conduct at California which caused harm to Plaintiff and the
                      10
                           Class that Defendant knows is likely to be suffered by Californians.
CROSNER LEGAL, P.C.




                      11
                                  9.      Venue is proper in this county pursuant to Cal. Civ Code. § 1780(c) because
                      12
                           Defendant is doing business in this county as the Products are offered for sale in this county.
                      13
                                                                        PARTIES
                      14
                                  10.     Defendant The Kraft Heinz Company is a Delaware corporation that maintains
                      15
                           its principal place of business at One PPG Place, Pittsburgh, Pennsylvania 15222. At all times
                      16
                           during the class period, Defendant was the manufacturer, distributor, marketer, and seller of the
                      17
                           Products.
                      18
                                  11.     Plaintiff Kamilah Galbreth is a resident of California. Plaintiff purchased the
                      19
                           Products during the class period in California. Plaintiff relied on Defendant’s deceptive
                      20
                           advertising and labeling claims as set forth below.
                      21
                                                                FACTUAL ALLEGATIONS
                      22
                             “NO ARTIFICIAL FLAVORS, PRESERVATIVES, OR DYES” IS PROMINENTLY DISPLAYED ON
                      23
                                                            THE LABELS OF THE PRODUCTS
                      24
                                  12.     The front labels for each of the Products prominently state that the Products
                      25
                           contain “No Artificial Flavors, Preservatives, or Dyes” thereby misleading reasonable
                      26
                           consumers into believing that the Products are free from preservatives. However, each of the
                      27
                           Products contain the preservative citric acid. Below are examples of labels for the Products:
                      28
                                                                          2
                                                               CLASS ACTION COMPLAINT
                           Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 5 of 27



                       1                        Kraft Mac & Cheese Original Flavor

                       2

                       3

                       4

                       5

                       6

                       7

                       8

                       9

                      10
CROSNER LEGAL, P.C.




                      11

                      12

                      13

                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22
                                                   INGREDIENTS: ENRICHED MACARONI
                      23                           (WHEAT FLOUR, DURUM FLOUR, NIACIN,
                                                   FERROUS SULFATE [IRON], THIAMIN
                      24                           MONONITRATE [VITAMIN B1], RIBOFLAVIN
                                                   [VITAMIN B2], FOLIC ACID), CHEESE SAUCE
                      25                           MIX (WHEY, MIL.KFAT, SALT, MILK PROTEIN
                                                   CONCENTRATE, SODIUM TRIPHOSPHATE,
                      26                           CONTAI~~ ~~:;~ T~AN 2% OF TAPIOCA
                                                   FLOUF. .CITRIC ACID, IACTIC ACID, SODIUM
                      27                           PHOSPhl\-;:, ~~:;iiJM PHOSPHATE, WITH
                                                   PAPRIKA, TURMERIC, AND ANNATTO ADDED
                                                   FOR COLOR, ENZYMES, CHEESE CULTURE).
                      28
                                                                3
                                                     CLASS ACTION COMPLAINT
                           Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 6 of 27



                       1                         Kraft Mac & Cheese Three Cheese

                       2

                       3

                       4

                       5

                       6

                       7

                       8

                       9

                      10
CROSNER LEGAL, P.C.




                      11

                      12

                      13

                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22

                      23

                      24
                                                                                   I




                      25                                                      IIll
                                                                          I 2'0f
                      26                                                .,JCJN:aJ
                                                                         ACIO,,msi
                      27                                                ....-RIC,AND
                      28
                                                                  .
                                                                4
                                                     CLASS ACTION COMPLAINT
                           Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 7 of 27



                       1                       Kraft Mac & Cheese Thick N’ Creamy

                       2

                       3

                       4

                       5

                       6

                       7

                       8

                       9

                      10
CROSNER LEGAL, P.C.




                      11

                      12

                      13

                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22
                                               I ~ENRICH8lt.WARON1PROOUCT .
                      23                        (WHEAT R.OUR, NIACIN, FERROUS SULFATE
                                                [IRON],THIAMIN MONONITRATE [VITAMIN 81),
                      24                        RIBOFLAVIN [VITAMIN frl],FOUCM:!D), CHEESE
                                                SAUCE MIX (WHEY, MOOIAED FOOD STARCH,
                      25                        MILK FAT, NONFAT DRY MILK, SALT, MILK
                                                PROTBN CONCENTRATE, CONTAINS LESS THAN
                      26                        2% OF DISODIUM PHOSPHATE, CELLULOSE
                                                ~~.... ~~~ OSE GUM, DRIED BUTTERMILK,
                                                CITRIC ACID, t .ACTIC ACID, WITH PAPRIKA,
                      27                        Ahi~~.~OTURMERICADDEDFORCOLOR,
                                                MILK, CHEESE CULTURE, ENZYMES).
                      28                        CONTAIIS~WHEAT, MILK
                                                                  5
                                                    CLASS ACTION COMPLAINT
                               Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 8 of 27



                       1                                                 CITRIC ACID IS A PRESERVATIVE

                       2              13.      Many commercial food manufactures use a synthetic form of citric acid that is

                       3   derived from heavy chemical processing. 2 Commercially produced citric acid is manufactured

                       4   using a type of black mold called Aspergillus niger. 3 Consumption of manufactured citric acid

                       5   has been associated with adverse health events like joint pain with swelling and stiffness,

                       6   muscular and stomach pain, as well as shortness of breath. 4 Defendant uses synthetic

                       7   manufactured citric acid in the Products.

                       8              14.      Citric acid acts as a preservative when added to food products, including the

                       9   Products at issue. The Food and Drug Administration (“FDA”) defines a preservative as “any

                      10   chemical that, when added to food, tends to prevent or retard deterioration thereof, but does not
CROSNER LEGAL, P.C.




                      11   include common salt, sugars, vinegars, spices, or oils extracted from spices, substances added

                      12   to food by direct exposure thereof to wood smoke, or chemicals applied for their insecticidal or

                      13   herbicidal properties.” 21 C.F.R. §101.22(a)(5). The FDA has listed citric acid as a preservative

                      14   in its “Overview of Food Ingredients, Additives and Colors” as shown below: 5

                      15       Types of                                                   Examples                    Names Found
                               Ingredients     What They Do                               of Uses                     on Product Labels
                      16       Preservatives   Prevent food spoilage from bacteria,       Fruit sauces and jellies,                           sodiumbenzoate, calcium
                                               molds, fungi, or yeast (antimicrobials);   beverages, baked goods,     propionate, sodiumerythorbate, sodiumnitrite, calcium
                      17                       slow or prevent changes incolor,           cured meats, oils and       sorbate, potassium sorbate, BHA, BHT, EDTA, tocopherols
                                               flavor, or texture and delay rancidity     margarines, cereals,        (Vitamin E)
                      18                       (antioxidants); maintain freshness         dressings, snack foods,
                                                                                          fruits and vegetables
                      19

                      20   2
                            A. Hesham, Y. Mostafa & L. Al-Sharqi, Optimization of Citric Acid Production by
                           Immobilized Cells of Novel Yeast Isolates, 48 MYCOBIOLOGY 122, 123 (2020), available at
                      21   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7178817/
                      22   3
                            Id; Pau Loke Show, et al., Overview of citric acid production from Aspergillus niger,
                      23   FRONTIERS IN LIFE SCIENCE, 8:3, 271-283 (2015), available at
                           https://www.tandfonline.com/doi/full/10.1080/21553769.2015.1033653
                      24   4
                             Iliana E. Sweis, et al., Potential role of the common food additive manufactured citric acid in
                      25   eliciting significant inflammatory reactions contributing to serious disease states: A series of
                           four case reports, TOXICOL REP. 5:808-812 (2018), available at
                      26   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6097542/
                           5
                      27     Overview of Food Ingredients, Additives & Colors, FOOD AND DRUG ADMINISTRATION,
                           available at https://web.archive.org/web/20220901032454/http://www.fda.gov/food/food-
                      28   ingredients-packaging/overview-food-ingredients-additives-colors

                                                                                            6
                                                                                 CLASS ACTION COMPLAINT
                               Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 9 of 27



                       1              15.        In a warning letter sent to Chiquita Brands International, Inc. and Fresh Express,

                       2   Inc., the FDA warned that certain products were misbranded under the Federal Food Drug and

                       3   Cosmetics Act because they “contain the chemical preservatives ascorbic acid and citric acid

                       4   but their labels fail to declare these preservatives with a description of their functions. 21 C.F.R.

                       5   [§] 101.22” (emphasis added). 6

                       6              16.        The Encyclopedia Britanica also classifies citric acid as a preservative because it

                       7   has antioxidant properties, as shown below 7:

                       8        Preservatives
                       9        Food preservatives are classified into two main groups: amtiox:idants and
                      10        antimicrobials. Antioxidants are compounds that delay or prevent the deterioration of
CROSNER LEGAL, P.C.




                                foods b) oxidative mechanisms. Antimicrobial agents inhibit the grnwth of spoilage
                      11
                                and pathogenic microorganisms :i.n fo od.
                      12

                      13
                                 Food preservatives
                      14
                                       chemical ag ent                                        mechanism of action
                      15
                                                                                  Antfoxida nts
                      16
                                 ascorbic acid                    oxygen sGa,venger
                      17
                                 butylated hydroxyanisole
                                                                  free rad ical scavenger
                      18         (BHA)

                                 butylated hydroxyto l:uene
                      19         (BHn
                                                                  free rad ical scave nger

                      20         citri c add                      enzyme inhibito r/meta l c e!ator

                      21         sulfites                         enzyme inhibito r/oxygen sGa,venger

                      22         tertiary butyl hydroq uinc Ile
                                                                  free rad ical scavenger
                                 (TBHrn
                      23
                                 tocopherols                      free rad ical scavenger
                      24

                      25

                      26   6
                               See Exhibit A attached hereto.
                      27   7
                            Preservatives, BRITANICA, available at https://www.britannica.com/topic/food-
                      28   additive/Preservatives#ref502211

                                                                                    7
                                                                         CLASS ACTION COMPLAINT
                               Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 10 of 27



                       1            17.   The Agricultural Marketing Service of the United States Department of

                       2   Agriculture (“USDA”) has also recognized the use of citric acid as a preservative stating that

                       3   “Citric acid has a wide variety of uses, some of which can provide preservative functions,

                       4   primarily though lowering the pH of the food.” 8

                       5            18.   The USDA’s Food Safety Inspection Service’s “Guideline for Label Approval”

                       6   states that “[s]ome common chemical preservatives include BHA, BHT, calcium propionate,

                       7   citric acid, natamycin and sodium propionate.” 9

                       8            19.   Several academic journals also note the use of citric acid as a preservative. 10

                       9   Indeed, “Citric acid acts as a preservative in many processed foods, keeping them fresh. It does

                      10   this by slowing or helping prevent the formation of bacteria, mold, yeast, and fungus.” 11 “Today,
CROSNER LEGAL, P.C.




                      11   citric acid is one of the most common and widely-used preservatives in the world[.]” 12

                      12            20.   Citric acid functions as a preservative in the Products regardless of whether

                      13   Defendant intended to use citric acid as a preservative. Citric acid functions as a preservative

                      14   even if it is also added to the Products for some other use. See 21 C.F.R. §101.22(a)(5) (defining

                      15   preservatives as “any chemical that, when added to food, tends to prevent or retard

                      16   deterioration”) (emphasis added); see also Merriam-Webster’s Dictionary (defining

                      17
                           8
                      18      Citric Acid and Salts, UNITED STATES DEPARTMENT OF AGRICULTURE, available at
                           https://www.ams.usda.gov/sites/default/files/media/Citric%20Acid%20TR%202015.pdf.
                      19   9
                            FSIS Guideline for Label Approval, UNITED STATES DEPARTMENT OF AGRICULTURE, available
                      20   at https://www.fsis.usda.gov/sites/default/files/media_file/documents/FSIS-GD-2023-0001.pdf
                           10
                      21      K. Kirimura, et al., Citric Acid, COMPREHENSIVE BIOTECHNOLOGY (SECOND EDITION)
                           (2011), available at
                      22   https://www.sciencedirect.com/science/article/abs/pii/B9780080885049001690?via%3Dihub;
                           K.M.S. Islam, Use of citric acid in broiler diets, WORLD’S POULTRY SCIENCE JOURNAL VOL.
                      23   68, ISSUE 1 (Feb. 21, 2012), available at https://www.cambridge.org/core/journals/world-s-
                           poultry-science-journal/article/abs/use-of-citric-acid-in-broiler-
                      24   diets/DA15C2C1F90667525BF2414DF3BFF646 (“Citric Acid (CA) is a weak organic acid
                           which is a natural preservative and can add an acidic or sour taste to foods and soft drinks.”).
                      25   11
                             What is citric acid, and what is it used for?, MEDICAL NEWS TODAY (July 23, 2021), available
                      26   at https://www.medicalnewstoday.com/articles/citric-acid
                           12
                      27     Citric Acid: One of the Most Important Preservatives in The World, FBC INDUSTRIES, INC.
                           (Feb. 5, 2019), available at https://fbcindustries.com/citric-acid-one-of-the-most-important-
                      28   preservatives-in-the-world/

                                                                         8
                                                              CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 11 of 27



                       1   “preservative” as “something that preserves or has the power of preserving.”) (emphasis

                       2   added). 13

                       3   REASONABLE CONSUMERS ARE DECEIVED BY DEFENDANT’S FALSE LABELING STATEMENT

                       4                                 AND SUFFERED ECONOMIC INJURY

                       5           21.     Consumers, like Plaintiff, relied on Defendant’s “No Artificial Flavors,

                       6   Preservatives, or Dyes” labeling statement. The “No Artificial Flavors, Preservatives, or Dyes”

                       7   statement on the labels of the Products is material to reasonable consumers. “[F]oods bearing

                       8   ‘free-from’ claims are increasingly relevant to Americans, as they perceive the products as

                       9   closely tied to health … 84 percent of American consumers buy free-from foods because they

                      10   are seeking out more natural or less processed foods. In fact, 43 percent of consumers agree that
CROSNER LEGAL, P.C.




                      11   free-from foods are healthier than foods without a free-from claim, while another three in five

                      12   believe the fewer ingredients a product has, the healthier it is (59 percent). Among the top claims

                      13   free-from consumers deem most important are trans-fat-free (78 percent) and preservative-free

                      14   (71 percent).” 14

                      15           22.     Plaintiff and the putative class members suffered economic injury as a result of

                      16   Defendant’s actions. Plaintiff and putative class members spent money that, absent Defendant’s

                      17   actions, they would not have spent. Plaintiff and putative class members are entitled to damages

                      18   and restitution for the purchase price of the Products that were falsely labeled and advertised.

                      19   Consumers, including Plaintiff, would not have purchased Defendant’s Products, or would have

                      20   paid less for the Products, if they had known the Products actually contain a preservative

                      21   ingredient.

                      22

                      23

                      24   13
                               Preservative, MERRIAM-WEBSTER’S DICTIONARY, available at https://www.merriam-
                      25   webster.com/dictionary/preservative?utm_campaign=sd&utm_medium=serp&utm_source=jso
                           nld
                      26   14
                              84% of Americans buy “free-from” foods because they believe them to be more natural or
                      27   less processed, Mintel (Sept. 3, 2015), available at https://www.mintel.com/press-centre/84-of-
                           americans-buy-free-from-foods-because-they-believe-them-to-be-more-natural-or-less-
                      28   processed/

                                                                          9
                                                               CLASS ACTION COMPLAINT
                           Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 12 of 27



                       1                                 PLAINTIFF’S PURCHASE OF THE PRODUCTS

                       2          23.     Plaintiff Kamilah Galbreth has purchased Kraft Mac & Cheese Products,

                       3   including the Kraft Mac & Cheese Original Flavor, with the “No Artificial Flavors,

                       4   Preservatives, or Dyes” label claim during the class period. Plaintiff’s last purchase of the

                       5   Products was in approximately October of 2023 from a Food 4 Less store located in California.

                       6          24.     Plaintiff saw and relied on the “No Artificial Flavors, Preservatives, or Dyes”

                       7   claim on the labels of the Products. Plaintiff would not have purchased the Products, or would

                       8   have paid less for the Products, had she known that the products actually contain a preservative

                       9   ingredient. As a result, Plaintiff suffered injury in fact when she spent money to purchase the

                      10   Products she would not have purchased, or would have paid less for, absent Defendant’s
CROSNER LEGAL, P.C.




                      11   misconduct. Plaintiff desires to purchase the Products again if the labels of the products were

                      12   accurate and if the products actually contained “No Artificial Flavors, Preservatives, or Dyes.”

                      13   However, as a result of Defendant’s ongoing misrepresentations, Plaintiff is unable to rely on

                      14   the Products’ advertising and labeling when deciding in the future whether to purchase the

                      15   Products.

                      16                                      NO ADEQUATE REMEDY AT LAW

                      17          25.     Plaintiff and members of the class are entitled to equitable relief as no adequate

                      18   remedy at law exists. The statutes of limitations for the causes of action pled herein vary. Class

                      19   members who purchased the Products more than three years prior to the filing of the complaint

                      20   will be barred from recovery if equitable relief were not permitted under the UCL.

                      21          26.     The scope of actionable misconduct under the unfair prong of the UCL is broader

                      22   than the other causes of action asserted herein. It includes Defendant’s overall unfair marketing

                      23   scheme to promote and brand the Products, across a multitude of media platforms, including the

                      24   product labels, packaging, and online advertisements, over a long period of time, in order to gain

                      25   an unfair advantage over competitor products. Plaintiff and class members may also be entitled

                      26   to restitution under the UCL, while not entitled to damages under other causes of action asserted

                      27   herein (e.g., the CLRA is limited to certain types of plaintiffs (an individual who seeks or

                      28
                                                                        10
                                                              CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 13 of 27



                       1   acquires, by purchase or lease, any goods or services for personal, family, or household

                       2   purposes) and other statutorily enumerated conduct).

                       3          27.     A primary litigation objective in this litigation is to obtain injunctive relief.

                       4   Injunctive relief is appropriate on behalf of Plaintiff and members of the class because Defendant

                       5   continues to misrepresent the Products as containing “No Artificial Flavors, Preservatives, or

                       6   Dyes” when the Products actually contain the preservative ingredient citric acid. Injunctive relief

                       7   is necessary to prevent Defendant from continuing to engage in the unfair, fraudulent, and/or

                       8   unlawful conduct described herein and to prevent future harm—none of which can be achieved

                       9   through available legal remedies (such as monetary damages to compensate past harm).

                      10   Injunctive relief, in the form of affirmative disclosures or halting the sale of unlawful sold
CROSNER LEGAL, P.C.




                      11   products is necessary to dispel the public misperception about the Products that has resulted

                      12   from years of Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such disclosures

                      13   would include, but are not limited to, publicly disseminated statements stating that the Products

                      14   actually contain a preservative. An injunction requiring affirmative disclosures to dispel the

                      15   public’s misperception, and prevent the ongoing deception and repeat purchases, is also not

                      16   available through a legal remedy (such as monetary damages). In addition, Plaintiff is currently

                      17   unable to accurately quantify the damages caused by Defendant’s future harm, because

                      18   discovery and Plaintiff’s investigation has not yet completed, rendering injunctive relief

                      19   necessary. Further, because a public injunction is available under the UCL, and damages will

                      20   not adequately benefit the general public in a manner equivalent to an injunction.

                      21          28.     It is premature to determine whether an adequate remedy at law exists. This is an

                      22   initial pleading and discovery has not yet commenced and/or is at its initial stages. No class has

                      23   been certified yet. No expert discovery has commenced and/or completed. The completion of

                      24   fact/non-expert and expert discovery, as well as the certification of this case as a class action,

                      25   are necessary to finalize and determine the adequacy and availability of all remedies, including

                      26   legal and equitable, for Plaintiff’s individual claims and any certified class or subclass. Plaintiff

                      27   therefore reserves her right to amend this complaint and/or assert additional facts that

                      28   demonstrate this Court’s jurisdiction to order equitable remedies where no adequate legal
                                                                         11
                                                               CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 14 of 27



                       1   remedies are available for either Plaintiff and/or any certified class or subclass. Such proof, to

                       2   the extent necessary, will be presented prior to the trial of any equitable claims for relief and/or

                       3   the entry of an order granting equitable relief.

                       4                                    CLASS ACTION ALLEGATIONS

                       5          29.     Plaintiff brings this action as a class action pursuant to Cal. Code. Civ. Proc. §

                       6   382 on behalf of the following Class:

                       7          All persons who purchased the Products for personal use in California within the
                       8          applicable statute of limitations until the date class notice is disseminated.

                       9          30.     Excluded from the class are: (i) Defendant and its officers, directors, and
                      10   employees; (ii) any person who files a valid and timely request for exclusion; (iii) judicial
CROSNER LEGAL, P.C.




                      11   officers and their immediate family members and associated court staff assigned to the case; (iv)
                      12   individuals who received a full refund of the Products from Defendant.
                      13          31.     Plaintiff reserves the right to amend or otherwise alter the class definition
                      14   presented to the Court at the appropriate time, or to propose or eliminate subclasses, in response
                      15   to facts learned through discovery, legal arguments advanced by Defendant, or otherwise.
                      16          32.     The Class is appropriate for certification because Plaintiff can prove the elements
                      17   of the claims on a classwide basis using the same evidence as would be used to prove those
                      18   elements in individual actions alleging the same claims.
                      19          33.     Numerosity: Class Members are so numerous that joinder of all members is
                      20   impracticable. Plaintiff believes that there are thousands of consumers who are Class Members
                      21   described above who have been damaged by Defendant’s deceptive and misleading practices.
                      22          34.     Commonality: There is a well-defined community of interest in the common
                      23   questions of law and fact affecting all Class Members. The questions of law and fact common
                      24   to the Class Members which predominate over any questions which may affect individual Class
                      25   Members include, but are not limited to:
                      26          a.      Whether Defendant is responsible for the conduct alleged herein which was
                      27   uniformly directed at all consumers who purchased the Products;
                      28
                                                                         12
                                                               CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 15 of 27



                       1           b.      Whether Defendant’s misconduct set forth in this Complaint demonstrates that

                       2   Defendant engaged in unfair, fraudulent, or unlawful business practices with respect to the

                       3   advertising, marketing, and sale of the Products;

                       4           c.      Whether Defendant made misrepresentations concerning the Products that were

                       5   likely to deceive the public;

                       6           d.      Whether Plaintiff and the Class are entitled to injunctive relief;

                       7           e.      Whether Plaintiff and the Class are entitled to money damages and/or restitution

                       8   under the same causes of action as the other Class Members.

                       9           35.     Typicality: Plaintiff is a member of the Class that Plaintiff seeks to represent.

                      10   Plaintiff’s claims are typical of the claims of each Class Member in that every member of the
CROSNER LEGAL, P.C.




                      11   Class was susceptible to the same deceptive, misleading conduct and purchased the Products.

                      12   Plaintiff is entitled to relief under the same causes of action as the other Class Members.

                      13           36.     Adequacy: Plaintiff is an adequate Class representative because Plaintiff’s

                      14   interests do not conflict with the interests of the Class Members Plaintiff seeks to represent; the

                      15   consumer fraud claims are common to all other members of the Class, and Plaintiff has a strong

                      16   interest in vindicating the rights of the class; Plaintiff has retained counsel competent and

                      17   experienced in complex class action litigation and Plaintiff intends to vigorously prosecute this

                      18   action. Plaintiff has no interests which conflict with those of the Class. The Class Members’

                      19   interests will be fairly and adequately protected by Plaintiff and proposed Class Counsel.

                      20   Defendant has acted in a manner generally applicable to the Class, making relief appropriate

                      21   with respect to Plaintiff and the Class Members. The prosecution of separate actions by

                      22   individual Class Members would create a risk of inconsistent and varying adjudications.

                      23           37.     The Class is properly brought and should be maintained as a class action because

                      24   a class action is superior to traditional litigation of this controversy. A class action is superior to

                      25   the other available methods for the fair and efficient adjudication of this controversy because:

                      26           a.      The joinder of hundreds of individual Class Members is impracticable,

                      27   cumbersome, unduly burdensome, and a waste of judicial and/or litigation resources;

                      28
                                                                          13
                                                                CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 16 of 27



                       1          b.      The individual claims of the Class Members may be relatively modest compared

                       2   with the expense of litigating the claim, thereby making it impracticable, unduly burdensome,

                       3   and expensive to justify individual actions;

                       4          c.      When Defendant’s liability has been adjudicated, all Class Members’ claims can

                       5   be determined by the Court and administered efficiently in a manner far less burdensome and

                       6   expensive than if it were attempted through filing, discovery, and trial of all individual cases;

                       7          d.      This class action will promote orderly, efficient, expeditious, and appropriate

                       8   adjudication and administration of Class claims;

                       9          e.      Plaintiff knows of no difficulty to be encountered in the management of this

                      10   action that would preclude its maintenance as a class action;
CROSNER LEGAL, P.C.




                      11          f.      This class action will assure uniformity of decisions among Class Members;

                      12          g.      The Class is readily definable and prosecution of this action as a class action will

                      13   eliminate the possibility of repetitious litigation; and

                      14          h.      Class Members’ interests in individually controlling the prosecution of separate

                      15   actions is outweighed by their interest in efficient resolution by single class action;

                      16          38.     Additionally or in the alternative, the Class also may be certified because

                      17   Defendant has acted or refused to act on grounds generally applicable to the Class thereby

                      18   making final declaratory and/or injunctive relief with respect to the members of the Class as a

                      19   whole, appropriate.

                      20          39.     Plaintiff seeks preliminary and permanent injunctive and equitable relief on

                      21   behalf of the Class, on grounds generally applicable to the Class, to enjoin and prevent

                      22   Defendant from engaging in the acts described, and to require Defendant to provide full

                      23   restitution to Plaintiff and the Class members.

                      24          40.     Unless the Class is certified, Defendant will retain monies that were taken from

                      25   Plaintiff and Class members as a result of Defendant’s wrongful conduct. Unless a classwide

                      26   injunction is issued, Defendant will continue to commit the violations alleged and the members

                      27   of the Class and the general public will continue to be misled.

                      28
                                                                          14
                                                                CLASS ACTION COMPLAINT
                           Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 17 of 27



                       1                                      FIRST CLAIM FOR RELIEF

                       2                     Violation of California’s Consumers Legal Remedies Act

                       3                                    Cal. Civ. Code § 1750 et seq.

                       4          41.     Plaintiff realleges and incorporates by reference all allegations contained in this

                       5   complaint, as though fully set forth herein.

                       6          42.     Plaintiff brings this claim under the CLRA individually and on behalf of the Class

                       7   against Defendant.

                       8          43.     At all times relevant hereto, Plaintiff and the members of the Class were

                       9   “consumer[s],” as defined in California Civil Code section 1761(d).

                      10          44.     At all relevant times, Defendant was a “person,” as defined in California Civil
CROSNER LEGAL, P.C.




                      11   Code section 1761(c).

                      12          45.     At all relevant times, the Products manufactured, marketed, advertised, and sold

                      13   by Defendant constituted “goods,” as defined in California Civil Code section 1761(a).

                      14          46.     The purchases of the Products by Plaintiff and the members of the Class were

                      15   and are “transactions” within the meaning of California Civil Code section 1761(e).

                      16          47.     Defendant disseminated, or caused to be disseminated, through its advertising,

                      17   false and misleading representations, including the Products’ labeling that the Products contain

                      18   “No Artificial Flavors, Preservatives, or Dyes.” Defendant failed to disclose that the Products

                      19   contain a preservative ingredient called citric acid. This is a material misrepresentation and

                      20   omission as reasonable consumer would find the fact that the Products contain a preservative to

                      21   be important to their decision in purchasing the Products. Defendant’s representations violate

                      22   the CLRA in the following ways:

                      23          a)      Defendant represented that the Products have characteristics, ingredients, uses,

                      24   and benefits which they do not have (Cal. Civ. Code § 1770(a)(5));

                      25          b)      Defendant represented that the Products are of a particular standard, quality, or

                      26   grade, which they are not (Cal. Civ. Code § 1770(a)(7));

                      27          c)      Defendant advertised the Products with an intent not to sell the Products as

                      28   advertised (Cal. Civ. Code § 1770(a)(9)); and
                                                                        15
                                                              CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 18 of 27



                       1          d)         Defendant represented that the subject of a transaction has been supplied in

                       2   accordance with a previous representation when it has not (Cal. Civ. Code § 1770(a)(16)).

                       3          48.        Defendant violated the CLRA because the Products were prominently advertised

                       4   as containing “No Artificial Flavors, Preservatives, or Dyes,” but, in reality, the Products

                       5   contain a preservative ingredient called citric acid. Defendant knew or should have known that

                       6   consumers would want to know that the Products contain a preservative.

                       7          49.        Defendant’s actions as described herein were done with conscious disregard of

                       8   Plaintiff’s and the Class members’ rights and were wanton and malicious.

                       9          50.        Defendant’s wrongful business practices constituted, and constitute, a continuing

                      10   course of conduct in violation of the CLRA, since Defendant is still representing that the
CROSNER LEGAL, P.C.




                      11   Products have characteristics which they do not have.

                      12          51.        Pursuant to California Civil Code section 1782(d), Plaintiff and the members of

                      13   the Class seek an order enjoining Defendant from engaging in the methods, acts, and practices

                      14   alleged herein.

                      15          52.        Pursuant to California Civil Code section 1782, Plaintiff will notify Defendant in

                      16   writing by certified mail of the alleged violations of the CLRA and will demand that Defendant

                      17   rectify the problems associated with the actions detailed above and give notice to all affected

                      18   consumers of their intent to so act. If Defendant fails to rectify or agree to rectify the problems

                      19   associated with the actions detailed herein and give notice to all affected consumers within 30

                      20   days of the date of written notice pursuant to section 1782 of the CLRA, then Plaintiff will

                      21   amend her complaint to seek damages.

                      22          53.        Pursuant to section 1780(d) of the CLRA, attached hereto is an affidavit showing

                      23   that this action was commenced in a proper forum.

                      24                                       SECOND CLAIM FOR RELIEF

                      25                           Violation of California’s Unfair Competition Law

                      26                                 Cal. Bus. & Prof. Code § 17200 et seq.

                      27          54.        Plaintiff realleges and incorporates by reference all allegations contained in this

                      28   complaint, as though fully set forth herein.
                                                                           16
                                                                 CLASS ACTION COMPLAINT
                           Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 19 of 27



                       1          55.     Plaintiff brings this claim under the UCL individually and on behalf of the Class

                       2   against Defendant.

                       3          56.     The UCL prohibits any “unlawful,” “fraudulent,” or “unfair” business act or

                       4   practice and any false or misleading advertising.

                       5          57.     Defendant committed unlawful business acts or practices by making the

                       6   representations and omitted material facts (which constitutes advertising within the meaning of

                       7   California Business & Professions Code section 17200), as set forth more fully herein, and by

                       8   violating California’s Consumers Legal Remedies Act, Cal. Civ. Code §§17500, et seq.,

                       9   California’s False Advertising Law, Cal. Bus. & Prof. § 17500, et seq., 15 U.S.C. § 45, and by

                      10   breaching express and implied warranties. Plaintiff, individually and on behalf of the other Class
CROSNER LEGAL, P.C.




                      11   members, reserves the right to allege other violations of law, which constitute other unlawful

                      12   business acts or practices. Such conduct is ongoing and continues to this date.

                      13          58.     Defendant committed “unfair” business acts or practices by: (1) engaging in

                      14   conduct where the utility of such conduct is outweighed by the harm to Plaintiff and the members

                      15   of the a Class; (2) engaging in conduct that is immoral, unethical, oppressive, unscrupulous, or

                      16   substantially injurious to Plaintiff and the members of the Class; and (3) engaging in conduct

                      17   that undermines or violates the intent of the consumer protection laws alleged herein. There is

                      18   no societal benefit from deceptive advertising. Plaintiff and the other Class members paid for a

                      19   Product that is not as advertised by Defendant. Further, Defendant failed to disclose a material

                      20   fact (that the Products contain a preservative) of which they had exclusive knowledge. While

                      21   Plaintiff and the other Class members were harmed, Defendant was unjustly enriched by its false

                      22   misrepresentations and material omissions. As a result, Defendant’s conduct is “unfair,” as it

                      23   offended an established public policy. There were reasonably available alternatives to further

                      24   Defendant’s legitimate business interests, other than the conduct described herein.

                      25          59.     Defendant committed “fraudulent” business acts or practices by making the

                      26   representations of material fact regarding the Products set forth herein. Defendant’s business

                      27   practices as alleged are “fraudulent” under the UCL because they are likely to deceive customers

                      28   into believing the Products actually contain no preservatives.
                                                                        17
                                                              CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 20 of 27



                       1            60.   Plaintiff and the other members of the Class have in fact been deceived as a result

                       2   of their reliance on Defendant’s material representations and omissions. This reliance has caused

                       3   harm to Plaintiff and the other members of the Class, each of whom purchased Defendant’s

                       4   Products. Plaintiff and the other Class members have suffered injury in fact and lost money as a

                       5   result of purchasing the Products and Defendant’s unlawful, unfair, and fraudulent practices.

                       6            61.   Defendant’s wrongful business practices and violations of the UCL are ongoing.

                       7            62.   Plaintiff and the Class seek pre-judgment interest as a direct and proximate result

                       8   of Defendant’s unfair and fraudulent business conduct. The amount on which interest is to be

                       9   calculated is a sum certain and capable of calculation, and Plaintiff and the Class seek interest

                      10   in an amount according to proof.
CROSNER LEGAL, P.C.




                      11            63.   Unless restrained and enjoined, Defendant will continue to engage in the above-
                           described conduct. Accordingly, injunctive relief is appropriate. Pursuant to California Business
                      12
                           & Professions Code section 17203, Plaintiff, individually and on behalf of the Class, seeks (1)
                      13
                           restitution from Defendant of all money obtained from Plaintiff and the other Class members as
                      14
                           a result of unfair competition; (2) an injunction prohibiting Defendant from continuing such
                      15
                           practices in the State of California that do not comply with California law; and (3) all other relief
                      16
                           this Court deems appropriate, consistent with California Business & Professions Code section
                      17
                           17203.
                      18
                                                              THIRD CLAIM FOR RELIEF
                      19
                                                             Breach of Express Warranty
                      20
                                    64.   Plaintiff realleges and incorporates by reference all allegations contained in this
                      21   complaint, as though fully set forth herein.
                      22            65.   Plaintiff brings this claim for breach of express warranty individually and on
                      23   behalf of the Class against Defendant.
                      24            66.   As the manufacturer, marketer, distributor, and seller of the Products, Defendant
                      25   issued an express warranty by representing to consumers at the point of purchase that the
                      26   Products contain “No Artificial Flavors, Preservatives, or Dyes”

                      27

                      28
                                                                         18
                                                               CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 21 of 27



                       1          67.        Plaintiff and the Class reasonably relied on Defendant’s misrepresentations,

                       2   descriptions and specifications regarding the Products, including the representation that the

                       3   Products contain “No Artificial Flavors, Preservatives, or Dyes”

                       4          68.        Defendant’s representations were part of the description of the goods and the

                       5   bargain upon which the goods were offered for sale and purchased by Plaintiff and Members of
                           the Class.
                       6
                                  69.        In fact, the Products do not conform to Defendant’s representations because the
                       7
                           Products contain a preservative ingredient called citric acid. By falsely representing the Products
                       8
                           in this way, Defendant breached express warranties.
                       9
                                  70.        Plaintiff relied on Defendant’s (the manufacturer) representations on the
                      10
                           Products’ labels and advertising materials which provide the basis for an express warranty under
CROSNER LEGAL, P.C.




                      11
                           California law.
                      12
                                  71.        As a direct and proximate result of Defendant’s breach, Plaintiff and Members
                      13
                           of the Class were injured because they: (1) paid money for the Products that were not what
                      14
                           Defendant represented; (2) were deprived of the benefit of the bargain because the Products
                      15   they purchased were different than Defendant advertised; and (3) were deprived of the benefit
                      16   of the bargain because the         Products they purchased had less value than if Defendant’s
                      17   representations about the characteristics of the Products were truthful. Had Defendant not
                      18   breached the express warranty by making the false representations alleged herein, Plaintiff and
                      19   Class Members would not have purchased the Products or would not have paid as much as they
                      20   did for them.

                      21                                               REQUEST FOR RELIEF

                      22          Plaintiff, individually, and on behalf of all others similarly situated, request for relief

                      23   pursuant to each claim set forth in this complaint, as follows:
                                  a.         Declaring that this action is a proper class action, certifying the Class as requested
                      24
                           herein, designating Plaintiff as the Class Representative and appointing the undersigned counsel
                      25
                           as Class Counsel;
                      26

                      27

                      28
                                                                            19
                                                                  CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 22 of 27



                       1          b.      Ordering restitution and disgorgement of all profits and unjust enrichment that

                       2   Defendant obtained from Plaintiff and the Class members as a result of Defendant’s unlawful,

                       3   unfair, and fraudulent business practices;

                       4          c.      Ordering injunctive relief as permitted by law or equity, including enjoining

                       5   Defendant from continuing the unlawful practices as set forth herein, and ordering Defendant to

                       6   engage in a corrective advertising campaign;

                       7          d.      Ordering damages in amount which is different than that calculated for restitution

                       8   for Plaintiff and the Class;

                       9          e.      Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiff and the

                      10   other members of the Class;
CROSNER LEGAL, P.C.




                      11          f.      Ordering Defendant to pay both pre- and post-judgment interest on any amounts

                      12   awarded; and

                      13          g.      Ordering such other and further relief as may be just and proper.

                      14                                           JURY DEMAND

                      15          Plaintiff hereby demands a trial by jury of all claims in this Complaint so triable.

                      16

                      17    Dated: November 16, 2023                      CROSNER LEGAL, P.C.

                      18
                                                                          By:        /s/ Michael T. Houchin
                      19                                                             MICHAEL T. HOUCHIN
                      20                                                  9440 Santa Monica Blvd. Suite 301
                                                                          Beverly Hills, CA 90210
                      21                                                  Tel: (866) 276-7637
                                                                          Fax: (310) 510-6429
                      22                                                  mhouchin@crosnerlegal.com
                      23                                                  Attorneys for Plaintiff and the Proposed Class
                      24

                      25

                      26

                      27

                      28
                                                                        20
                                                              CLASS ACTION COMPLAINT
                            Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 23 of 27



                       1                         Affidavit Pursuant to Civil Code Section 1780(d)

                       2          I, MICHAEL T. HOUCHIN, declare as follows:

                       3          1.       I am an attorney duly licensed to practice before all of the courts of the State of

                       4   California. I am one of the counsel of record for Plaintiff.

                       5          2.       This declaration is made pursuant to § 1780(d) of the California Consumers Legal

                       6   Remedies Act.

                       7          3.       Defendant The Kraft Heinz Company has done, and is doing, business in

                       8   California, including in this county. Such business includes the marketing, promotion,

                       9   distribution, and sale of the Products within the State of California.

                      10
CROSNER LEGAL, P.C.




                      11          I declare under penalty of perjury under the laws of the State of California that the

                      12   foregoing is true and correct. Executed November 16, 2023 at San Diego, California.

                      13

                      14                                                  CROSNER LEGAL, P.C.

                      15
                                                                          By:        /s/ Michael T. Houchin
                      16                                                             MICHAEL T. HOUCHIN
                      17                                                  9440 Santa Monica Blvd. Suite 301
                                                                          Beverly Hills, CA 90210
                      18                                                  Tel: (866) 276-7637
                                                                          Fax: (310) 510-6429
                      19                                                  mhouchin@crosnerlegal.com
                      20

                      21

                      22

                      23

                      24

                      25

                      26

                      27

                      28
                                                                         21
                                                               CLASS ACTION COMPLAINT
Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 24 of 27




                             EXHIBIT A
                   Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 25 of 27


 1/23/2015                                                Warning Letters> Fresh Express Incorporated 10/6/10




   Archived Content
   The content on this page Is provided for reference purposes only. This content has not
   been altered or updated since it was archived.
   Search Archive

   Home Inspections. Compliance. Enforcement. and Criminal Investigations Compliance Actions and Ac tivi ti es Warning
   .bfllfil
   inspections, Compliance, Enforcement, and Criminal Investigations

   Fresh Express Incorporated 10/6/10




    ci -..     Department of Health and Human Services
                                                                                                         Public Health Service
                                                                                                         Food and Drug Administration
                                                                                                         San Francisco District
                                                                                                         1431 Harbor Bay Parkway
                                                                                                         Alameda. CA 94502-7070
                                                                                                         Telephone : 510/337- 6700
                                                                 WARNING LETTER
   Via UPS
   Oct ober 6, 2010
   Fernando Aguirre, President and CEO
   Chiquita Brands Int ernational, I nc. and Fresh Express, I ncorporated
   250 East Fifth St reet
   Cincinnati, OR 45202
   Dea r Mr . Aguirre:
  Starting on May 21, 2010 and endi ng on June 10, 2010, the Food and Drug Administration (FDA) inspected
  your food manufacturing facility located at 900 E. Blanco Road, Salinas, California. Dur ing this inspect ion,
  FDA investigators collect ed labels for your products and reviewed their labeling at
  http://www.chiquita.com 1 . Based on our review, we have concluded that your Chiquita brand "Pineapple
  Bites wit h Coconut" and "Pineapple Bites" products are misbranded in violation of t he Federal Food, Drug,
  and Cosmetic Act (the Act) and the applicable regulations in Title 21, Code of Federal Regulations, Part
  101 .(21 CFR 101). You can.find the Act and FDA r!:gul ations through link? at FDA's Internet hon_,e page at
  http ://WWW. fda .gov2 .
  Specificall y, your "Pineapple Bites with Coconut" product is misbranded within t he meaning of Section
  403(a) of t he Act [21 U.S.C. § 343(a)] in that its statement of identity, "Pineapple Bites with Coconut", is
  false and misleading. The Ingredient stat ement for t his product states t hat it is made with coconut;
  however, our investigation determined that this product is made with a coconut flavor spray. The
  characterizing flavor of your Pineapple with Coconut product must be identified in accordance with 21 CFR
  101.22(i)(l)(iii) (for example. "coconut flavor").
  Your "Pineapple Bites" and "Pineapple Bites with Coconut" products are m isbranded withi n the meaning of
  Section 403(r)(l){A) of the Act [21 U.S.C. §. 343(r)(l)(A)] because. t heir labeling bears nutrient content
  cla ims but the products do not meet the requi rements for the claims.
  Specifically, their labeling includes t he claim "Plus ... Antioxidants.'' However, this claim does not include
  t he names of t he nutrients that are the subject of the claim or, alternatively, link the term "antioxidants"
  by a symbol (e.g., an aster isk) t hat refers to the same symbol that appears elsewhere on the same panel
  of the product label, followed by the name or names of the nutrients with recognized antioxidant activity.
  21 CFR 101. 54(g)( 4 ). Your use of this antioxidant cla im therefore misbrands your products under section
  403{r )(2)(A)(i) of the Act (21 U.S.C. § 343(r)(2)(A)(i)].
http://www.fda.gov/lCECI/EnforcemenlAclions/VVarningLellers/ucm228663.hlm                                                               1/3
                  Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 26 of 27


 1/23/2015                                              Warning Letters> Fresh Express Incorporated 10/6/10

   Your "Pineapple Bites" and "Pineapple Bites with Coconut" products also bear the claim "Plus
   Phytonutrients." "Phytonutrients" are not nutr ients for which a recommended daily int ake (RD!) or daily
   recom mended val ue (DRV) has been established. Therefore, nutrient content claims regarding
   "phytonutrients" are not authorized and further misbrand your pr oducts under section 403(r)(2)(A)(i) of
   the Act [21 U.S.C. § 343(r)(2)(A)( i)]. To the extent phytonutrients are intended to be the basis for an
   antioxidant nutri ent content claim, that use would violate FDA regulati ons for the same reason and
   because phytonutrients are not recognized as having antioxidant activity. 21 CFR 101.54(g)(l) and (2).
   Both your "Pineapple Bit es" and "Pineapple Bites with Coconut" products also bear the statement "Only 40
   Calories." This statement implies that the products are "low calorie" foods . A "low calorie" claim may be
   made if a food with a reference amount customar ily consumed (RACC) greater than 30 grams (g) or
   greater t han 2 tablespoons does not provide more than 40 calories per RACC. 21 CFR 101.60(b)(2)(i)(A).
   The RACC established for pineapple is 140 g. See 21 CFR 101.12(b) (Table 2, Fr uits and Fruit Juices, All
   other fruits fresh, canned, or f rozen).
   The nutrition informat ion for both products st ates that there are 40 calories per 1 piece (80 g) of product;
   this equals about 70 calories per RACC. Therefore, under 21 CFR 101. 13(i)(2), t he products are requi red t,
   carry a disclaimer adjacent to the claim, e.g., "Only 40 calories per serving, not a low calorie food".
   Beca use your products fail to bear t he required disclaimer, they are misbranded within the meani ng of
   section 403(r )(l)(A) of the Act.
  The "Pineapple Bit es" and "Pineapple Bites wit h Coconut" products are further misbranded within the
  meaning of section 403( k) of the Act (21 U.S.C. 343(k)] in that they contain the chemical preservatives
  ascorbic acid and citric acid but t heir labels fail to declare these preservatives with a description of thei r
  functions. 21 CFR 101.22. Further, t he ingredients ascorbic acid and citric acid must be declared by their
  common or usual names. 21 CFR 101.4(a).
  This letter is not intended to be an all-inclusive review of your firm 's products and processes . It is your
  responsibility to ensur e t hat your firm and your products comply with the Act and FDA, regulations. You
  should ta ke prompt action to correct the violations. Fail ure to prompt ly correct these violations may resul·
  In regulatory act ion without further notice. For Instance, we may take furt her action to seize your product
  or enjoin your firm from operating.
  We also note that, FDA (through its contractor ) obtained two samples of Fresh Express Hearts of Romaine
  the testing of which yielded human pat hogens. One sample was found to contain Salmonella Anatum; •
  anot her sample was found to contain E. coli 0157:Hl. We acknowledge that you issued let ters to your
  cust omers in an effort to recall affected products. However, FDA recommends that you review your firm•~
  criteria for receipt of raw product, your procedures for ensuring that wash, flume and processing water de
  not contami nate your products and any other conditions and practices that may relate to the cause of t he
  cont amination.
  We further acknowledge your June 25, 2010 response to t he Good Manufacturi ng Practices violations cit ed
  in the FDA Form 483 regarding t his inspect ion. In your response, you committed to:
             • Retrain employees to replace or sanit ize their gloves af ter contacting unsanitized surfaces;
             • Include the dryer hoist controls and t he equipment control panels t hat involve direct employee
             contact in your da ily wash and sanitation procedures;
             • Create a new storage system for aprons, gloves, and sleeve guards for times during
             manufacturing when t hey are not in use; and
             • Modify your cutti ng surface inspection and replacement program so that cutting surfaces w ill be
             changed after every (b)(4) of use.              •
  However, you did not provide documentation to demonstrate t hat these corrections have been made. You
  also did not address the observation that your technician improperl y read the free chlorine indicator tests
  in the flume water . Please provide this informat ion and documentation in your response to this Warning
  Letter .
                                         .                                               .
  In addition t o the labeling issues identified above, we note that the available labeli ng space is at least 6"
  in height; therefore, the size of the nutrit ion information declared on these packages is not appropriate
  and does not meet th_    e formatting requirements under 21 CFR 101.9(d), including hairline and footnote
  requirements. We note that since some of the nutrients are at insignificant levels, a shortened ver sion of
  t he Nutri t ion Facts panel may be used, e.g ., t he statement "Not a significant source of dietary fiber", at
  t he bottom of the table of nutrient values as allowed under 21 CFR 101.9(c).
  Please notify this office in writing within fi f teen (15) working days from the date you receive this letter of
hHp:/lwww.fdagov/lCECI/EnforcementAclions/WarningLetters/ucm228663.hlm                                             2/3
                  Case 4:23-cv-06341-YGR Document 1-1 Filed 12/08/23 Page 27 of 27


1/23/2015                                               Warning Lelte<s > Fresh Exp(ess Incorporated 10/6110
   the specific steps you have taken to correct the noted violations, including an explanation of how you plan
   to prevent these violations, or similar violations, from occurring again. Please include documentation of
   the corrective actions you have taken. If your planned corrections will occur over time, please include a
   timetable for implementation of those corrections. If corrective action cannot be completed within 15
   working days, state the reason for the delay and the time within which the corrections will be completed.
   Your response should be sent to:
            Darlene B. Almogela
            Director of Compliance
            United States Food and Drug Administration
            1431 Harbor Bay Parkway
            Alameda, CA 94502
  If you have any questions about the content of this letter please contact Sergio Chavez, Compliance
   Officer, at 510-337-6886.
  /s/

   Barbara Cassens
   District Director


  Page Last Updated: 10/08/2010
  Note: .If you need help accessing information in different file formats, see Instructions for Downloading
  Viewers and Players.
            Accessibility Contact FDA Careers FDA Basics FOIA No Fear Act Site Map Transparency Website
            Policies


  U.S. Food and Drug Administration
  10903 New Hampshire Avenue
  Silver Spring, MD 20993
  Ph. 1-888-1 NFO-FDA ( 1-888..463-6332)
  Email FDA
        -c:.'i:\.gc-:..                C, .. •




            For Government For Press
            Combination Products Advisory Committees Science & Research Regulatory Information Safety
            Emergency Preparedness International Programs News & Events Training and Continuing Education
            Inspections/Compliance State & Local Officials Consumers Industry Health Professionals FDA Archive
  ..::!Jf- U.S. Department of HealU1 & Human Services

    Links on this page:
              1. http://www.chiquita .com/
              2. http://www.fda.gov




hllp:/lwww.fdagov/lCECI/EnforcemeolAcUons/WarningLetters/ucm228663.hlm                                         313
